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                       IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    NO. 4:05CR00259-03 JLH

FELIX GREEN                                                                          DEFENDANT

                                             ORDER

       By Order dated September 25, 2006, the Court committed Felix Green to the custody of the

Attorney General or his authorized representative for a period not to exceed forty-five (45) days for

a psychiatric and complete physical examination pursuant to 18 U.S.C. § 4247(b) and (c).

       The Court has received correspondence from Warden Stephen M. Dewalt of the Federal

Medical Center in Lexington, Kentucky, in which he requests that the forty-five (45) day period

begin from the date that defendant arrived at the designated Bureau of Prisons facility. Warden

Dewalt further requests a thirty (30) day extension of which to complete the examinations. Counsel

for the government and defendant have been contacted and have no objection to the requests.

       IT IS THEREFORE ORDERED that the forty-five (45) day period in which to conduct the

psychiatric and complete physical examinations is considered to have started upon defendant’s

arrival at the facility on November 2, 2006. The request for an additional thirty (30) days to

complete the examinations is also granted.

       IT IS FURTHER ORDERED that the additional delay occasioned by the examination ordered

herein shall be excludable under the provisions of the Speedy Trial Act as provided by 18 U.S.C.

§ 3161(h)(1)(A) and (H).

       IT IS SO ORDERED this 17th day of November, 2006.




                                              J. LEON HOLMES
                                              UNITED STATES DISTRICT JUDGE
